                   Case 1:13-cr-10200-GAO Document 1806 Filed 08/02/24 Page 1 of 3
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                                                                                                           Eastern District
Federal Defenders                                                    One Pierrepont Plaza -16th Floor, Brooklyn, NY 11201
                                                                                  Tel: (718) 330-1204 Fax: (718) 855-0760
OF NEW YORK, INC.

                                                                                              Eastern District of New York
 Tamara Giwa                                                                                  Michelle A. Gelernt
 Executive Director and                                                                       Attorney-in-Charge
 Attorney-in-Chief


                                                           August 2, 2024

    By ECF
    Honorable George A. O’Toole, Jr.
    U.S. District Judge
    District of Massachusetts
    1 Courthouse Way
    Boston, Massachusetts 02210

             Re:      United States v. Dzhokhar Tsarnaev, No. 13-CR-10200-GAO


             On behalf of Dzhokhar Tsarnaev, we write in advance of the upcoming status conference to inquire

    whether the Court intends to return this case to the clerk for reassignment, pursuant to Local Rule 40.1(l)(2).

              The First Circuit’s March 21, 2024 order directed: “The district court’s ruling denying Dzhokhar[]

    Tsarnaev’s motion to strike for cause Jurors 138 and 286 is vacated, and matter is remanded to the district

    court for further proceedings consistent with the opinion issued this day.” Order, United States v. Tsarnaev,

    No. 16–6001 (1st Cir. March 21, 2024).

             It is our understanding that the First Circuit’s remand order triggered D. Mass. Local Rule 40.1(l)

    (“Proceedings after Appeal”) (formerly codified at Local Rule 40.1(k)), which provides:

             (1) When an appellate court remands a case to this court for a new trial, the case shall be reassigned to
             a district judge other than the judge before whom the first trial was held.

             (2) In all other cases in which the mandate of the appellate court requires further proceedings in this
             court, such proceedings shall not be conducted before the district judge before whom the prior
             proceedings were conducted unless the terms of the remand require that further proceedings be
             conducted before the original judge or unless the judge determines that there will result a substantial
             saving in the time of the whole court and that there is no reason why, in the interest of justice, further
             proceedings should be conducted before another judge. If the judge before whom the prior proceedings
             were conducted does not retain the case for further proceedings, that judge shall return it to the clerk for
             reassignment.
            Case 1:13-cr-10200-GAO Document 1806 Filed 08/02/24 Page 2 of 3
                                                     2


Where, as here, the First Circuit’s order “require[s] further proceedings in this court,” there is a “presumption

of reassignment” on remand. Kimmel v. United States, 2024 WL 1558483, at *1 (D. Mass. April 10, 2024).

And where none of the exceptions in the rule applies, reassignment is proper. See In re Volkswagen and Audi

Warranty Extension Litigation, 898 F. Supp. 2d 346, 347 (D. Mass. Oct. 10, 2012) (after appellate vacatur and

remand of award of attorneys’ fees, returning case to clerk for reassignment because none of the exceptions

was met); see also, e.g., In re PHC, Inc. Shareholder Litigation, 894 F.3d 419, 425–26 (1st Cir. 2018) (noting

that after appellate vacatur of summary judgment and remand, case was reassigned from this Court to another

judge); Hudson v. Mici, 2023 WL 2333498, at *2 (D. Mass. March 2, 2023) (advising parties that case would

be reassigned following appellate remand); In re One Star Class Sloop Sailboat Built in 1930 with Hull

Number 721, Named “Flash II”, 517 F. Supp. 2d 546, 549 (D. Mass. 2007) (noting that case was reassigned

following appellate remand).

       Here, because none of Local Rule 40.1(l)(2)’s exceptions apply, it is our understanding that the case

should be returned to the Clerk for reassignment.

       If this Court is not inclined to refer the case for reassignment, we wish to advise the Court that we

intend to file a separate motion for the Court to recuse itself pursuant to 28 U.S.C. § 455(a), and we would

request a briefing schedule for that motion. If a recusal motion is necessary, we would also request that this

Court refrain from issuing any rulings concerning the evidentiary hearing pending the disposition of that

motion.


                                              Respectfully submitted,
                                              DZHOKHAR TSARNAEV
                                              by his attorneys:

                                              /s/ Deirdre D. von Dornum
                                              Deirdre D. von Dornum, Esq.
                                              Mia Eisner-Grynberg, Esq.
                                              Federal Defenders of New York, Inc.
                                              One Pierrepont Plaza, 16th Floor
            Case 1:13-cr-10200-GAO Document 1806 Filed 08/02/24 Page 3 of 3
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                                              Brooklyn, NY 11201
                                              (718) 330-1210
                                              DEIRDRE_VONDORNUM@FD.ORG
                                              MIA_EISNER-GRYNBERG@FD.ORG

                                              David Patton, Esq.
                                              Pro Hac Vice
                                              Hecker Fink LLP
                                              350 5th Avenue, 63rd Floor
                                              New York, NY 10118
                                              (212) 763-0883
                                              DPATTON@HECKERFINK.COM




                                             Certificate of Service

        I hereby certify that this document and any attachments filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF) on August 2,
2024.


                                              /s/ Deirdre D. von Dornum
                                              Deirdre D. von Dornum, Esq.
                                              Federal Defenders of New York, Inc.
                                              One Pierrepont Plaza, 16th Floor
                                              Brooklyn, NY 11201
                                              (718) 330-1210
                                              DEIRDRE_VONDORNUM@FD.ORG
